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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

  MOBILE EQUITY CORP.,                                  §
                                                        §
          Plaintiff,                                    §
                                                        §
  v.                                                    §       Case No. 2:21-cv-126-JRG-RSP
                                                        §
  WALMART INC.,                                         §
                                                        §
          Defendant.                                    §
                                                        §


                                         DISCOVERY ORDER


         After a review of the pleaded claims and defenses in this action, in furtherance of the

 management of the Court’s docket under Federal Rule of Civil Procedure 16, and after receiving

 the input of the parties to this action, it is ORDERED AS FOLLOWS:

 1.      Initial Disclosures. In lieu of the disclosures required by Federal Rule of Civil Procedure

         26(a)(1), each party shall disclose to every other party the following information:

         (a)       the correct names of the parties to the lawsuit;

         (b)       the name, address, and telephone number of any potential parties;

         (c)       the legal theories and, in general, the factual bases of the disclosing party’s claims

                   or defenses (the disclosing party need not marshal all evidence that may be offered

                   at trial);

         (d)       the name, address, and telephone number of persons having knowledge of relevant

                   facts, a brief statement of each identified person’s connection with the case, and a

                   brief, fair summary of the substance of the information known by any such person;




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            (e)      any indemnity and insuring agreements under which any person or entity carrying

                     on an insurance business may be liable to satisfy part or all of a judgment entered

                     in this action or to indemnify or reimburse for payments made to satisfy the

                     judgment;

            (f)      any settlement agreements relevant to the subject matter of this action; and

            (g)      any statement of any party to the litigation.

 2.         Disclosure of Expert Testimony. A party must disclose to the other parties the identity

            of any witness it may use at trial to present evidence under Federal Rule of Evidence 702,

            703 or 705, and:

            (a)      if the witness is one retained or specially employed to provide expert testimony in

                     the case or one whose duties as the party’s employee regularly involve giving expert

                     testimony, provide the disclosures required by Federal Rule of Civil Procedure

                     26(a)(2)(B) and Local Rule CV-26; and

            (b)      for all other such witnesses, provide the disclosure required by Federal Rule of Civil

                     Procedure 26(a)(2)(C).

 3.         Additional Disclosures. Without awaiting a discovery request,1 each party will make the

            following disclosures to every other party:

            (a)      provide the disclosures required by the Patent Rules for the Eastern District of

                     Texas with the following modifications to P.R. 3-1 and P.R. 3-3:

                        i.     If a party claiming patent infringement asserts that a claim element is a

                               software limitation, the party need not comply with P.R. 3-1 for those claim

                               elements until 30 days after source code for each Accused Instrumentality



 1   The Court anticipates that this disclosure requirement will obviate the need for requests for production.

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                          is produced by the opposing party. Thereafter, the party claiming patent

                          infringement shall identify, on an element-by-element basis for each

                          asserted claim, what source code of each Accused Instrumentality allegedly

                          satisfies the software limitations of the asserted claim elements.

                    ii.   If a party claiming patent infringement exercises the provisions of

                          Paragraph 3(a)(i) of this Discovery Order, the party opposing a claim of

                          patent infringement may serve, not later than 30 days after receipt of a

                          Paragraph 3(a)(i) disclosure, supplemental “Invalidity Contentions” that

                          amend only those claim elements identified as software limitations by the

                          party claiming patent infringement.

         (b)       produce or permit the inspection of all documents, electronically stored

                   information, and tangible things in the possession, custody, or control of the party

                   that are relevant to the pleaded claims or defenses involved in this action, except to

                   the extent these disclosures are affected by the time limits set forth in the Patent

                   Rules for the Eastern District of Texas; and

         (c)       provide a complete computation of any category of damages claimed by any party

                   to the action, and produce or permit the inspection of documents or other

                   evidentiary material on which such computation is based, including materials

                   bearing on the nature and extent of injuries suffered, except that the disclosure of

                   the computation of damages may be deferred until the time for Expert Disclosures

                   if a party will rely on a damages expert.

 4.      Protective Orders. The Court will enter the parties’ Agreed Protective Order.




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 5.      Discovery Limitations. The discovery in this cause is limited to the disclosures described

         in Paragraphs 1-3 together with:

         (a)       Interrogatories: Each side is permitted to serve up to forty (40) interrogatories.

         (b)       Request for Admission: There is no limit on the number of requests for admission

                   the parties may serve to establish the authenticity of documents. Requests for

                   admission directed to document authentication shall be clearly denoted as such, and

                   shall be served separately from any requests for admission subject to the numerical

                   limitations. In addition, each side is permitted to serve up to forty (40) requests for

                   admission.

         (c)       Depositions of Parties, Third Parties, and Experts:

                     i.   Party Depositions: Each party is allowed no more than seventy (70) hours

                          of oral deposition of party witnesses (including Rule 30(b)(6) and Rule

                          30(b)(1) depositions but excluding experts). Each party reserves the right

                          to seek an adjustment of these time limits based upon changes to the scope

                          of discovery, or the addition or dismissal of any parties, in this case. These

                          provisions, further, may be amended by agreement of the parties or upon

                          order of the Court upon good cause shown.

                    ii.   Third Party Depositions: Third party depositions are to be conducted in

                          accordance with the Federal Rules of Civil Procedure. Each side is allowed

                          up to seventy (70) hours of third-party deposition time. The parties shall

                          coordinate depositions of third parties to reduce redundancy and

                          inconvenience to the third parties.




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                    iii.   Expert Depositions. Depositions of expert witnesses are limited to seven

                           (7) hours per witness per report. However, the parties agree that if any

                           expert report addresses the issues of both infringement/non-infringement

                           and/or validity/invalidity those issues each shall be treated as a separate

                           report for the purposes of the deposition hours limits set forth above.

         (d)       Any party may later move to modify these limitations for good cause.

 6.      Privileged Information.         There is no duty to disclose privileged documents or

         information. However, the parties are directed to meet and confer concerning privileged

         documents or information after the Status Conference. By the deadline set in the Docket

         Control Order, the parties shall exchange privilege logs identifying the documents or

         information and the basis for any disputed claim of privilege in a manner that, without

         revealing information itself privileged or protected, will enable the other parties to assess

         the applicability of the privilege or protection. Any party may move the Court for an order

         compelling the production of any documents or information identified on any other party’s

         privilege log. If such a motion is made, the party asserting privilege shall respond to the

         motion within the time period provided by Local Rule CV-7. The party asserting privilege

         shall then file with the Court within 30 days of the filing of the motion to compel any proof

         in the form of declarations or affidavits to support their assertions of privilege, along with

         the documents over which privilege is asserted for in camera inspection.

 7.      Signature. The disclosures required by this Order shall be made in writing and signed by

         the party or counsel and shall constitute a certification that, to the best of the signer’s

         knowledge, information and belief, such disclosure is complete and correct as of the time

         it is made. If feasible, counsel shall meet to exchange disclosures required by this Order;



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         otherwise, such disclosures shall be served as provided by Federal Rule of Civil Procedure

         5. The parties shall promptly file a notice with the Court that the disclosures required under

         this Order have taken place.

 8.      Duty to Supplement. After disclosure is made pursuant to this Order, each party is under

         a duty to supplement or correct its disclosures immediately if the party obtains information

         on the basis of which it knows that the information disclosed was either incomplete or

         incorrect when made, or is no longer complete or true.

 9.      Discovery Disputes.

         (a)       Except in cases involving claims of privilege, any party entitled to receive

                   disclosures (“Requesting Party”) may, after the deadline for making disclosures,

                   serve upon a party required to make disclosures (“Responding Party”) a written

                   statement, in letter form or otherwise, of any reason why the Requesting Party

                   believes that the Responding Party’s disclosures are insufficient. The written

                   statement shall list, by category, the items the Requesting Party contends should be

                   produced. The parties shall promptly meet and confer. If the parties are unable to

                   resolve their dispute, then the Responding Party shall, within 14 days after service

                   of the written statement upon it, serve upon the Requesting Party a written

                   statement, in letter form or otherwise, which identifies (1) the requested items that

                   will be disclosed, if any, and (2) the reasons why any requested items will not be

                   disclosed. The Requesting Party may thereafter file a motion to compel.

         (b)       An opposed discovery related motion, or any response thereto, shall not exceed 7

                   pages. Attachments to a discovery related motion, or a response thereto, shall not




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                   exceed 5 pages. No further briefing is allowed absent a request or order from the

                   Court.

         (c)       Prior to filing any discovery related motion, the parties must fully comply with the

                   substantive and procedural conference requirements of Local Rule CV-7(h) and (i).

                   Within 72 hours of the Court setting any discovery motion for a hearing, each

                   party’s lead attorney (see Local Rule CV-11(a)) and local counsel shall meet and

                   confer in person or by telephone, without the involvement or participation of other

                   attorneys, in an effort to resolve the dispute without Court intervention.

         (d)       Counsel shall promptly notify the Court of the results of that meeting by filing a

                   joint report of no more than two pages. Unless excused by the Court, each party’s

                   lead attorney shall attend any discovery motion hearing set by the Court (though

                   the lead attorney is not required to argue the motion).

         (e)       Any change to a party’s lead attorney designation must be accomplished by motion

                   and order.

         (f)       Counsel are directed to contact the chambers of the undersigned for any “hot-line”

                   disputes before contacting the Discovery Hotline provided by Local Rule CV-

                   26(e). If the undersigned is not available, the parties shall proceed in accordance

                   with Local Rule CV-26(e).

 10.     No Excuses. A party is not excused from the requirements of this Discovery Order because

         it has not fully completed its investigation of the case, or because it challenges the

         sufficiency of another party’s disclosures, or because another party has not made its

         disclosures. Absent court order to the contrary, a party is not excused from disclosure

         because there are pending motions to dismiss, to remand or to change venue.



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 11.     Filings. Only upon request from chambers shall counsel submit to the court courtesy

         copies of any filings.

 12.     Proposed Stipulations by the Parties Regarding Discovery.

         (a)       The parties will move separately for an order regarding e-discovery.
         (b)       Where technologically feasible, all pleadings and other case-related documents
                   will be served via email pursuant to L.R. CV-5(d).

         (c)       Items Not Required in Privilege Log: Except as provided under Local Patent Rule
                   3-7, no party is required to include in a privilege log any documents that came
                   into existence on or after the filing date of the Original Complaint.

  13.    Standing Orders. The parties and counsel are charged with notice of and are required to
 .
         fully comply with each of the Standing Orders of this Court. Such are posted on the Court’s

         website at http://www.txed.uscourts.gov/?q=court-annexed-mediation-plan. The substance

         of some such orders may be included expressly within this Discovery Order, while others

         (including the Court’s Standing Order Regarding Protection of Proprietary and/or

         Confidential Information to Be Presented to the Court During Motion and Trial Practice)

         are incorporated herein by reference. All such standing orders shall be binding on the

         parties and counsel, regardless of whether they are expressly included herein or made a

         part hereof by reference.
         SIGNED this 3rd day of January, 2012.
         SIGNED this 2nd day of August, 2021.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE




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